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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


IN RE: Criminal Cases

      This matter is before the Court upon the Court's own motion:

       IT IS HEREBY ORDERED that government's exhibits in the case listed below are to be returned
to the United States Attorney for appropriate disposition.

      CASE NUMBER                                    CAPTION


8:02CR329                                            US v. Danny D. Reaves
8:05CR127                                            US v. Danny Ray Lewis
8:05CR237                                            US v. Patrick Smith, et al.

      DATED this 31st day of May, 2007.


                                              BY THE COURT

                                              s/Laurie Smith Camp
                                              United States District Judge
